Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 1 of 43 PageID 797




                          EXHIBIT E
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 2 of 43 PageID 798



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION
   CARLO LLORCA, an individual,

                         Plaintiff,

   v.                                              Case No. 2:15-cv-00017-JES-CM

   KEVIN RAMBOSK, as the duly elected
   Sheriff of Collier County, Florida,

                         Defendant.

               PROPOSED JURY INSTRUCTIONS AND VERDICT FORM

          COME NOW CARLO LLORCA (“Llorca” or “Plaintiff”) and KEVIN

   RAMBOSK, as the duly elected Sheriff of Collier County, Florida (the “Sheriff’s Office”

   or “Defendant”), by and through their respective undersigned counsel and pursuant to

   Section III (B)(5) of this Court’s Case Management and Scheduling Order (D.E.

   32)(“CMSO”), hereby file their Joint Proposed Jury Instructions and Verdict Form.

  Dated this 22nd day of July, 2016.             Respectfully submitted,

  s/ Benjamin H. Yormak                          s/ David J. Stefany
  BENJAMIN H. YORMAK                             DAVID J. STEFANY
  Florida Bar Number 71272                       Florida Bar No. 438995
  Counsel for Plaintiff                          NICOLETTE L. BIDARIAN
                                                 Florida Bar No. 83795
  YORMAK EMPLOYMENT &
                                                 Counsel for Defendant
  DISABILITY LAW
  9990 Coconut Road                              ALLEN NORTON & BLUE, P.A.
  Bonita Springs, Florida 34135                  324 South Hyde Park Avenue, Suite 225
  Telephone: (239) 985-9691                      Tampa, Florida 33606-4127
  Fax: (239) 288-2534                            (813) 251-1210 | (813) 253-2006 – Fax
  byormak@yormaklaw.com                          dstefany@anblaw.com
                                                 nbidarian@anblaw.com
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 3 of 43 PageID 799



                                 TABLE OF CONTENTS 1

   PRELIMINARY INSTRUCTIONS

   1.1 General Preliminary Instruction
   1.4 Jury Questions
   1.5 Interim Statements

   TRIAL INSTRUCTIONS

   2.1 Stipulations
   2.2 Use of Depositions
   2.3 Use of Recorded Conversations and Transcripts
   2.4 Interim Statements
   2.5 Judicial Notice
   2.6 Use of Interrogatories
   2.7 In-Trial Instructions on News Coverage

   BASIC INSTRUCTIONS

   3.1 Introduction
   3.2.3 Duty to Follow Instructions - Government Entity or Agency Involved
   3.3 Consideration of Direct and Circumstantial Evidence; Argument of Counsel;
   Comments by the Court
   3.4 Credibility of Witnesses
   3.5.1 Impeachment of Witnesses because of Inconsistent Statements
   3.7.1 Responsibility for Proof - Plaintiff's Claim[s], Cross Claims, Counterclaims -
   Preponderance of the Evidence
   3.7.2 Responsibility for Proof - Affirmative Defense Preponderance of the Evidence
   3.8.1 Duty to Deliberate when only the Plaintiff Claims Damages
   3.9 Election of Foreperson Explanation of Verdict Form[s]

   ADVERSE EMPLOYMENT ACTION CLAIMS INSTRUCTIONS

   4.14 Fair Labor Standards Act - 29 U.S.C. §§ 201 et seq.

   SPECIAL INTERROGATORIES TO JURY




   1
     All proposed Jury Instructions are taken from the 11th Circuit Civil Pattern Jury
   Instructions (2013), with appropriate modifications.
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 4 of 43 PageID 800




 1.1     General Preliminary Instructions

 Members of the Jury:

         Now that you’ve been sworn, I need to explain some basic principles about a civil trial

 and your duty as jurors. These are preliminary instructions. I’ll give you more detailed

 instructions at the end of the trial.

 The jury’s duty:

         It’s your duty to listen to the evidence, decide what happened, and apply the law to the

 facts. It’s my job to provide you with the law you must apply – and you must follow the law

 even if you disagree with it.

 What is evidence:

         You must decide the case on only the evidence presented in the courtroom. Evidence

 comes in many forms. It can be testimony about what someone saw, heard, or smelled. It can be

 an exhibit or a photograph. It can be someone’s opinion.

         Some evidence may prove a fact indirectly. Let’s say a witness saw wet grass outside and

 people walking into the courthouse carrying wet umbrellas. This may be indirect evidence that it

 rained, even though the witness didn’t personally see it rain. Indirect evidence like this is also

 called “circumstantial evidence” – simply a chain of circumstances that likely proves a fact.

         As far as the law is concerned, it makes no difference whether evidence is direct or

 indirect. You may choose to believe or disbelieve either kind. Your job is to give each piece of

 evidence whatever weight you think it deserves.

 What is not evidence:

         During the trial, you’ll hear certain things that are not evidence and you must not

 consider them.



                                              1.1 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 5 of 43 PageID 801




         First, the lawyers’ statements and arguments aren’t evidence. In their opening statements

 and closing arguments, the lawyers will discuss the case. Their remarks may help you follow

 each side’s arguments and presentation of evidence. But the remarks themselves aren’t evidence

 and shouldn’t play a role in your deliberations.

         Second, the lawyers’ questions and objections aren’t evidence. Only the witnesses’

 answers are evidence. Don’t decide that something is true just because a lawyer’s question

 suggests that it is. For example, a lawyer may ask a witness, “You saw Mr. Jones hit his sister,

 didn’t you?” That question is not evidence of what the witness saw or what Mr. Jones did –

 unless the witness agrees with it.

         There are rules of evidence that control what the court can receive into evidence. When a

 lawyer asks a witness a question or presents an exhibit, the opposing lawyer may object if

 [he/she] thinks the rules of evidence don’t permit it. If I overrule the objection, then the witness

 may answer the question or the court may receive the exhibit. If I sustain the objection, then the

 witness cannot answer the question, and the court cannot receive the exhibit. When I sustain an

 objection to a question, you must ignore the question and not guess what the answer might have

 been.

         Sometimes I may disallow evidence – this is also called “striking” evidence – and order

 you to disregard or ignore it. That means that you must not consider that evidence when you are

 deciding the case.

         I may allow some evidence for only a limited purpose. When I instruct you that I have

 admitted an item of evidence for a limited purpose, you must consider it for only that purpose

 and no other.




                                               1.1 - 2
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 6 of 43 PageID 802




 Credibility of witnesses:

         To reach a verdict, you may have to decide which testimony to believe and which

 testimony not to believe. You may believe everything a witness says, part of it, or none of it.

 When considering a witness’s testimony, you may take into account:

         · the witness’s opportunity and ability to see, hear, or know the things the witness
            is testifying about;

         · the witness’s memory;

         · the witness’s manner while testifying;

         · any interest the witness has in the outcome of the case;

         · any bias or prejudice the witness may have;

         · any other evidence that contradicts the witness’s testimony;

         · the reasonableness of the witness’s testimony in light of all the evidence; and

         · any other factors affecting believability.

         At the end of the trial, I’ll give you additional guidelines for determining a witness’s

 credibility.

 Description of the case:

         This is a civil case. To help you follow the evidence, I’ll summarize the parties’

 positions. The Plaintiff, Carlo Llorca, claims the Defendant, the Collier County Sheriff’s Office,

 failed to pay him for overtime hours worked. The Sheriff’s Office denies those claims and

 contends that Mr. Llorca was properly paid for all hours that he worked as required by both

 federal and state law.

 Burden of proof:

         Mr. Llorca has the burden of proving his case by what the law calls a “preponderance of

 the evidence.” That means Mr. Llorca must prove that, in light of all the evidence, what

 [he/she/it] claims is more likely true than not. So, if you could put the evidence favoring Mr.
                                                1.1 - 3
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 7 of 43 PageID 803




 Llorca and the evidence favoring the Sheriff’s Office on opposite sides of balancing scales, Mr.

 Llorca needs to make the scales tip to his side. If Mr. Llorca fails to meet this burden, you must

 find in favor of the Sheriff’s Office.

        To decide whether any fact has been proved by a preponderance of the evidence, you

 may – unless I instruct you otherwise – consider the testimony of all witnesses, regardless of

 who called them, and all exhibits that the court allowed, regardless of who produced them. After

 considering all the evidence, if you decide a claim or fact is more likely true than not, then the

 claim or fact has been proved by a preponderance of the evidence.

        On certain issues, called “affirmative defenses,” the Sheriff’s Office has the burden of

 proving the elements of a defense by a preponderance of the evidence. I’ll instruct you on the

 facts the Sheriff’s Office must prove for any affirmative defense. After considering all the

 evidence, if you decide that the Sheriff’s Office has successfully proven that the required facts

 are more likely true than not, the affirmative defense is proved.

 Conduct of the jury:

        While serving on the jury, you may not talk with anyone about anything related to the

 case. You may tell people that you’re a juror and give them information about when you must be

 in court. But you must not discuss anything about the case itself with anyone.

        You shouldn’t even talk about the case with each other until you begin your

 deliberations. You want to make sure you’ve heard everything – all the evidence, the lawyers’

 closing arguments, and my instructions on the law – before you begin deliberating. You should

 keep an open mind until the end of the trial. Premature discussions may lead to a premature

 decision.




                                               1.1 - 4
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 8 of 43 PageID 804




         In this age of technology, I want to emphasize that in addition to not talking face-to-face

 with anyone about the case, you must not communicate with anyone about the case by any other

 means. This includes e-mails, text messages, and the Internet, including social-networking

 websites such as Facebook, MySpace, and Twitter.

         You also shouldn’t Google or search online or offline for any information about the case,

 the parties, or the law. Don’t read or listen to the news about this case, visit any places related to

 this case, or research any fact, issue, or law related to this case. The law forbids the jurors to talk

 with anyone else about the case and forbids anyone else to talk to the jurors about it. It’s very

 important that you understand why these rules exist and why they’re so important. You must

 base your decision only on the testimony and other evidence presented in the courtroom. It is not

 fair to the parties if you base your decision in any way on information you acquire outside the

 courtroom. For example, the law often uses words and phrases in special ways, so it’s important

 that any definitions you hear come only from me and not from any other source. Only you jurors

 can decide a verdict in this case. The law sees only you as fair, and only you have promised to be

 fair – no one else is so qualified.

 Taking notes:

         If you wish, you may take notes to help you remember what the witnesses said. If you do

 take notes, please don’t share them with anyone until you go to the jury room to decide the case.

 Don’t let note-taking distract you from carefully listening to and observing the witnesses. When

 you leave the courtroom, you should leave your notes hidden from view in the jury room.

         Whether or not you take notes, you should rely on your own memory of the testimony.

 Your notes are there only to help your memory. They’re not entitled to greater weight than your

 memory or impression about the testimony.



                                                1.1 - 5
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 9 of 43 PageID 805




 Course of the trial:

        Let’s walk through the trial. First, each side may make an opening statement, but they

 don’t have to. Remember, an opening statement isn’t evidence, and it’s not supposed to be

 argumentative; it’s just an outline of what that party intends to prove.

        Next, Mr. Llorca will present his witnesses and ask them questions. After Mr. Llorca

 questions the witness, the Sheriff’s Office may ask the witness questions – this is called “cross-

 examining” the witness. Then the Sheriff’s Office will present its witnesses, and Mr. Llorca may

 cross-examine them. You should base your decision on all the evidence, regardless of which

 party presented it.

        After all the evidence is in, the parties’ lawyers will present their closing arguments to

 summarize and interpret the evidence for you, and then I’ll give you instructions on the law.

        [Note: Some judges may wish to give some instructions before closing arguments. See

 Fed. R. Civ. P. 51(b)(3).]

        You’ll then go to the jury room to deliberate.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:               _____________

 DENIED:                _____________

 MODIFIED:              _____________

 WITHDRAWN:             _____________




                                               1.1 - 6
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 10 of 43 PageID 806




 1.4    Jury Questions

        During this trial, you may submit questions to a witness after the lawyers have finished

 their own questioning. Here is how the procedure works: After each witness has testified, and the

 lawyers have asked all of their questions, I’ll ask if any of you have questions. If you have a

 question, write it down and give it to the court staff.

        You may submit a question for a witness only to clarify an answer or to help you

 understand the evidence. Our experience with juror questions indicates that jurors rarely have

 more than a few questions for any one witness, and there may be no questions at all for some

 witnesses.

        If you submit a question, the court staff will give it to me and I’ll share your questions

 with the lawyers in the case. If the rules of evidence allow your question, one of the lawyers or I

 will read your question to the witness. I may modify the form or phrasing of a question so that

 it’s allowed under the evidence rules. Sometimes, I may not allow the questions to be read to the

 witness, either because the law does not allow it or because another witness is in a better position

 to answer the question. If I can’t allow the witness to answer a question, you must not draw any

 conclusions from that fact or speculate on what the answer might have been.

        Here are several important things to keep in mind about your questions for the witnesses:

        · First, you must submit all questions in writing. Please don’t ask any questions
          aloud.

        · Second, the court can’t re-call witnesses to the stand for additional juror
          questions. If you have a question for a particular witness, you must submit it
          when I ask.

        · Finally, because you should remain neutral and open-minded throughout the
          trial, you should phrase your questions in a way that doesn’t express an opinion
          about the case or a witness. You must keep an open mind until you’ve heard all
          the evidence, the closing arguments, and my final instructions on the law.



                                                1.4 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 11 of 43 PageID 807




 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:              _____________

 DENIED:               _____________

 MODIFIED:             _____________

 WITHDRAWN:            _____________




                                              1.4 - 2
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 12 of 43 PageID 808




 1.5    Interim Statements

        At times during the trial, the lawyers will address you. You’ll soon hear the lawyers’

 opening statements, and at the trial’s conclusion you’ll hear their closing arguments. Sometimes

 the lawyers may choose to make short statements to you, either to preview upcoming evidence or

 to summarize and highlight evidence they just presented. These statements and arguments are the

 lawyers’ views of the evidence or of what they anticipate the evidence will be. They are not

 evidence themselves.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:               _____________

 DENIED:                _____________

 MODIFIED:              _____________

 WITHDRAWN:             _____________




                                              1.5 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 13 of 43 PageID 809




 2.1    Stipulations

        Sometimes the parties have agreed that certain facts are true. This agreement is called a

 stipulation. You must treat these facts as proved for this case.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:               _____________

 DENIED:                _____________

 MODIFIED:              _____________

 WITHDRAWN:             _____________




                                               2.1 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 14 of 43 PageID 810




 2.2    Use of Depositions

        A deposition is a witness’s sworn testimony that is taken before the trial. During a

 deposition, the witness is under oath and swears to tell the truth, and the lawyers for each party

 may ask questions. A court reporter is present and records the questions and answers.

        Portions of the deposition of Mr. Llorca taken on March 17, 2016, will be presented to

 you during the trial by reading the transcript. Mr. Llorca’s deposition testimony is entitled to the

 same consideration as his live testimony, and you must judge it in the same way as if the witness

 was testifying in court.

        Do not place any significance on the behavior or tone of voice of any person reading the

 questions or answers.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:                _____________

 DENIED:                 _____________

 MODIFIED:               _____________

 WITHDRAWN:              _____________




                                               2.2 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 15 of 43 PageID 811




 2.4    Interim Statements

        At the beginning of the trial, I told you that the lawyers might make short statements

 previewing upcoming evidence or summarizing and highlighting evidence that they have already

 presented before. Right now, Mr. Yormak is going to make a short statement on behalf of Mr.

 Llorca, and following his statement, Mr. Stefany is going to make a short statement on behalf of

 the Collier County Sheriff’s Office. Please remember that the statements you are about to hear –

 like all statements by the lawyers – are the attorneys’ views of the evidence or of what each of

 them anticipates the evidence will be, but isn’t itself evidence.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:               _____________

 DENIED:                _____________

 MODIFIED:              _____________

 WITHDRAWN:             _____________




                                               2.4 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 16 of 43 PageID 812




 2.5     Judicial Notice

         The rules of evidence allow me to accept facts that no one can reasonably dispute. The

 law calls this “judicial notice.” I’ve accepted [state the fact that the court has judicially noticed]

 as proved even though no one introduced evidence to prove it. You must accept it as true for this

 case.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:               _____________

 DENIED:                _____________

 MODIFIED:              _____________

 WITHDRAWN:             _____________




                                                2.5 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 17 of 43 PageID 813




 2.6    Use of Interrogatories

        You’ll now hear answers that Mr. Llorca gave in response to written questions the other

 side submitted. The questions are called “interrogatories.” Before the trial, Mr. Llorca gave the

 answers in writing while under oath.

        You must consider Mr. Llorca’s answers to the Sheriff’s Office’s interrogatories as

 though Mr. Llorca gave the answers on the witness stand.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:              _____________

 DENIED:               _____________

 MODIFIED:             _____________

 WITHDRAWN:            _____________




                                              2.6 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 18 of 43 PageID 814




 2.7      In-Trial Instructions on News Coverage

          Reports about this trial may appear in the media. The reporters may not have heard all

 the testimony as you have, may be getting information from people who are not under oath and

 subject to cross examination, may emphasize an unimportant point, or may simply be wrong.

          You must not read, listen to, or watch anything about this trial. It would violate your oath

 as a juror to decide this case on anything other than the evidence presented at trial and on your

 own common sense. You must decide this case exclusively on the evidence you receive here in

 court.




 GRANTED:                _____________

 DENIED:                 _____________

 MODIFIED:               _____________

 WITHDRAWN:              _____________




                                                2.7 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 19 of 43 PageID 815




 3.1    Introduction

                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION
 CARLO LLORCA, an individual,

                         Plaintiff,

 v.                                                 Case No. 2:15-cv-00017-JES-CM
                                                    Judge: John E. Steele
 KEVIN RAMBOSK, as the duly elected
 Sheriff of Collier County, Florida,                Mag. Judge: Carol Mirando

                         Defendant.

                         COURT’S INSTRUCTIONS TO THE JURY

        Members of the jury:

        It’s my duty to instruct you on the rules of law that you must use in deciding this case.

        When I have finished you will go to the jury room and begin your discussions, sometimes

 called deliberations.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:                _____________

 DENIED:                 _____________

 MODIFIED:               _____________

 WITHDRAWN:              _____________




                                              3.1 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 20 of 43 PageID 816




 3.2.3   The Duty to Follow Instructions – Government Entity or Agency Involved

         Your decision must be based only on the evidence presented here. You must not be

 influenced in any way by either sympathy for or prejudice against anyone.

         You must follow the law as I explain it – even if you do not agree with the law – and you

 must follow all of my instructions as a whole. You must not single out or disregard any of the

 instructions on the law.

         The fact that a governmental entity or agency is involved as a party must not affect your

 decision in any way. A governmental agency and all other persons stand equal before the law

 and must be dealt with as equals in a court of justice. When a governmental agency is involved,

 of course, it may act only through people as its employees; and, in general, a governmental

 agency is responsible under the law for the acts and statements of its employees that are made

 within the scope of their duties as employees of the governmental agency.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:              _____________

 DENIED:               _____________

 MODIFIED:             _____________

 WITHDRAWN:            _____________




                                             3.2.3 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 21 of 43 PageID 817




 3.3    Consideration of Direct and Circumstantial Evidence; Argument of Counsel;
        Comments by the Court

        As I said before, you must consider only the evidence that I have admitted in the case.

 Evidence includes the testimony of witnesses and the exhibits admitted. But, anything the

 lawyers say is not evidence and isn’t binding on you.

        You shouldn’t assume from anything I’ve said that I have any opinion about any factual

 issue in this case. Except for my instructions to you on the law, you should disregard anything I

 may have said during the trial in arriving at your own decision about the facts.

        Your own recollection and interpretation of the evidence is what matters.

        In considering the evidence you may use reasoning and common sense to make

 deductions and reach conclusions. You shouldn’t be concerned about whether the evidence is

 direct or circumstantial.

        “Direct evidence” is the testimony of a person who asserts that he or she has actual

 knowledge of a fact, such as an eyewitness.

        “Circumstantial evidence” is proof of a chain of facts and circumstances that tend to

 prove or disprove a fact. There’s no legal difference in the weight you may give to either direct

 or circumstantial evidence.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.



 GRANTED:               _____________

 DENIED:                _____________

 MODIFIED:              _____________

 WITHDRAWN:             _____________


                                               3.3 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 22 of 43 PageID 818




 3.4    Credibility of Witnesses

        When I say you must consider all the evidence, I don’t mean that you must accept all the

 evidence as true or accurate. You should decide whether you believe what each witness had to

 say, and how important that testimony was. In making that decision you may believe or

 disbelieve any witness, in whole or in part. The number of witnesses testifying concerning a

 particular point doesn’t necessarily matter.

        To decide whether you believe any witness I suggest that you ask yourself a few

 questions:

        1. Did the witness impress you as one who was telling the truth?

        2. Did the witness have any particular reason not to tell the truth?

        3. Did the witness have a personal interest in the outcome of the case?

        4. Did the witness seem to have a good memory?

        5. Did the witness have the opportunity and ability to accurately observe the
           things he or she testified about?

        6. Did the witness appear to understand the questions clearly and answer them
            directly?

        7. Did the witness’s testimony differ from other testimony or other evidence?

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:              _____________

 DENIED:               _____________

 MODIFIED:             _____________

 WITHDRAWN:            _____________


                                                3.4 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 23 of 43 PageID 819




 3.5.1   Impeachment of Witnesses Because of Inconsistent Statements

         You should also ask yourself whether there was evidence that a witness testified falsely

 about an important fact. And ask whether there was evidence that at some other time a witness

 said or did something, or didn’t say or do something, that was different from the testimony the

 witness gave during this trial.

         But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling the truth as

 he or she remembers it. People naturally tend to forget some things or remember them

 inaccurately. So, if a witness misstated something, you must decide whether it was because of an

 innocent lapse in memory or an intentional deception. The significance of your decision may

 depend on whether the misstatement is about an important fact or about an unimportant detail.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:               _____________

 DENIED:                _____________

 MODIFIED:              _____________

 WITHDRAWN:             _____________




                                             3.5.1 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 24 of 43 PageID 820




 3.7.1   Responsibility for Proof – Plaintiff’s Claim[s], Cross Claims, Counterclaims –
         Preponderance of the Evidence

         In this case it is the responsibility of the Mr. Llorca to prove every essential part of his

 claim by a “preponderance of the evidence.” This is sometimes called the “burden of proof” or

 the “burden of persuasion.”

         A “preponderance of the evidence” simply means an amount of evidence that is enough

 to persuade you that Mr. Llorca’s claim is more likely true than not true.

         If the proof fails to establish any essential part of a claim or contention by a

 preponderance of the evidence, you should find against Mr. Llorca.            [Since Mr. Llorca has

 asserted two legal claims against the Collier County Sheriff’s Office, you should consider each

 of his claims separately.]

         In deciding whether any fact has been proved by a preponderance of the evidence, you

 may consider the testimony of all of the witnesses, regardless of who may have called them, and

 all of the exhibits received in evidence, regardless of who may have produced them.

         If the proof fails to establish any essential part of Mr. Llorca’s claim by a preponderance

 of the evidence, you should find for the Sheriff’s Office as to that claim.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:              _____________

 DENIED:               _____________

 MODIFIED:             _____________

 WITHDRAWN:            _____________


                                              3.7.1 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 25 of 43 PageID 821




 3.7.2   Responsibility for Proof – Affirmative Defense Preponderance of the Evidence

         In this case, the Collier County Sheriff’s Office asserts the following affirmative

 defenses:

               •   Defendant states that it has compensated Plaintiff for all hours worked, consistent

                   with the requirements of the Fair Labor Standards Act and the Florida Minimum

                   Wage Act.

               •   Defendant states that Plaintiff’s FMWA claims are barred for his failure to

                   provide pre-suit notice to Defendant as required by Section 448.110(6)(a),

                   Florida Statutes.

               •   Defendant states that any failure to abide by the FLSA requirement to

                   compensate Plaintiff with overtime for off duty hours worked in excess of 86 in

                   one or more of his 14-day work periods was in good faith and Defendant had

                   reasonable grounds for believing its actions were not in violation of the FLSA.

               •   Defendant states that any failure to abide by the FMWA requirement to

                   compensate Plaintiff with the state’s minimum wage for off duty hours worked in

                   excess of 86 in one or more of his 14-day work periods was in good faith and

                   Defendant had reasonable grounds for believing its actions were not in violation

                   of the FMWA.

         Even if Mr. Llorca proves one or more of his claims by a preponderance of the evidence,

 the Sheriff’s Office can prevail in this case if it proves an affirmative defense by a preponderance

 of the evidence.

         When more than one affirmative defense is involved, you should consider each one

 separately.



                                               3.7.2 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 26 of 43 PageID 822




        I caution you that the Sheriff’s Office does not have to disprove either of Mr. Llorca’s

 claims, but if the Sheriff’s Office raises an affirmative defense, the only way it can prevail on

 that specific defense is if it proves that defense by a preponderance of the evidence.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:              _____________

 DENIED:               _____________

 MODIFIED:             _____________

 WITHDRAWN:            _____________




                                              3.7.2 - 2
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 27 of 43 PageID 823




 3.8.1 Duty to Deliberate When Only the Plaintiff Claims Damages

        Of course, the fact that I have given you instructions concerning the issue of Plaintiff’s

 damages should not be interpreted in any way as an indication that I believe that the Plaintiff

 should, or should not, prevail in this case.

        Your verdict must be unanimous – in other words, you must all agree. Your deliberations

 are secret, and you’ll never have to explain your verdict to anyone.

        Each of you must decide the case for yourself, but only after fully considering the

 evidence with the other jurors. So you must discuss the case with one another and try to reach an

 agreement. While you’re discussing the case, don’t hesitate to reexamine your own opinion and

 change your mind if you become convinced that you were wrong. But don’t give up your honest

 beliefs just because others think differently or because you simply want to get the case over with.

        Remember that, in a very real way, you’re judges – judges of the facts. Your only interest

 is to seek the truth from the evidence in the case.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:               _____________

 DENIED:                _____________

 MODIFIED:              _____________

 WITHDRAWN:             _____________




                                                3.8.1 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 28 of 43 PageID 824




 3.9    Election of Foreperson Explanation of Verdict Form

        When you get to the jury room, choose one of your members to act as foreperson. The

 foreperson will direct your deliberations and speak for you in court.

        A verdict form has been prepared for your convenience.

                                           [Explain verdict]

        Take the verdict form with you to the jury room. When you’ve all agreed on the verdict,

 your foreperson must fill in the form, sign it and date it. Then you’ll return it to the courtroom.

        If you wish to communicate with me at any time, please write down your message or

 question and give it to the court security officer. The court security officer will bring it to me and

 I’ll respond as promptly as possible – either in writing or by talking to you in the courtroom.

 Please understand that I may have to talk to the lawyers and the parties before I respond to your

 question or message, so you should be patient as you await my response. But I caution you not to

 tell me how many jurors have voted one way or the other at that time. That type of information

 should remain in the jury room and not be shared with anyone, including me, in your note or

 question.

 ANNOTATIONS AND COMMENTS

 No annotations associated with this instruction.




 GRANTED:               _____________

 DENIED:                _____________

 MODIFIED:              _____________

 WITHDRAWN:             _____________



                                                3.9 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 29 of 43 PageID 825




 4.14   Fair Labor Standards Act – 29 U.S.C. §§ 201 et seq.

        In this case, Mr. Llorca claims that the Sheriff’s Office did not pay him overtime pay for

 hours he claims to have worked, as required by the federal Fair Labor Standards Act, also known

 as the FLSA. Mr. Llorca also claims that the Sheriff’s Office did not pay him minimum wages

 for hours he claims to have worked required by Art. X, Sect. 24 of the Florida Constitution and

 the Florida Minimum Wage Act. Sections 448.109-448.110, Florida Statutes, also known as the

 FMWA.

        The parties agree that Mr. Llorca was an “employee” and the Sheriff’s Office was his

 “employer” as those terms are defined under the FLSA and FMWA. Because this is agreed to, to

 succeed on his claims against the Sheriff’s Office, Mr. Llorca must prove by a preponderance of

 the evidence that he actually worked more than the hours reported on his time cards for one or

 more work periods, and that the Sheriff’s Office failed to pay Mr. Llorca the overtime pay

 required by the FLSA, and/or minimum wage required by the FMWA.

        [In the verdict form that I will explain in a moment, you will be asked to answer

 questions about these factual issues.]

        Overtime claim: For nonexempt law enforcement officers, the FLSA requires an

 employer to pay an employee at least one-and-one-half times the employee’s “regular rate” for

 hours worked over 86 hours in a 14-day work period. Put another way, if a nonexempt deputy

 sheriff works more than 86 hours in his or her 14-day work period, the employer must pay the

 employee an overtime rate of 1.5 times his or her regular rate of pay for all time worked after the

 first 86 hours. This is commonly known as time-and-a-half pay for overtime work.

        The employee’s regular rate for one work period is the basis for calculating any overtime

 pay due to the employee. The “regular rate” for a work period is determined by dividing the total

 wages paid for the work period by 86. Should you determine that Mr. Llorca worked hours

                                             4.14 - 1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 30 of 43 PageID 826




 beyond the hours he reported on his time cards, to calculate how much overtime pay would be

 owed to Mr. Llorca for a certain pay period, subtract 86 from the total number of hours you

 determine that he worked and if the number is greater than zero, multiply the difference by his

 overtime rate for the work period. The Sheriff’s Office failed to pay Mr. Llorca the required

 overtime pay for that work period if it paid him less than that amount.

        The amount of damages is the difference between the amount Mr. Llorca should have

 been paid and the amount he was actually paid. Mr. Llorca is entitled to recover lost wages from

 September 25, 2014 back to no more than January 14, 2013 – unless you find that the Sheriff’s

 Office either knew or showed reckless disregard for whether the FLSA prohibited its conduct. If

 you find that the Sheriff’s Office knew or showed reckless disregard for whether the FLSA

 prohibited its conduct, then Mr. Llorca is entitled to recover lost wages from September 25, 2014

 back to no more than January 14, 2012.

        Inadequate Records: The law requires an employer to keep records of how many hours

 its employees work and the amount they are paid. In this case, Mr. Llorca claims that the

 Sheriff’s Office failed to keep and maintain adequate records of his hours and pay. Mr. Llorca

 also claims that the Sheriff’s Office’s failure to keep and maintain adequate records has made it

 difficult for Mr. Llorca to prove the exact amount of his claim. The Sheriff’s Office contends

 that its records of the hours worked by Mr. Llorca were accurately created and maintained.

        If you find that the Sheriff’s Office failed to keep adequate time and pay records for Mr.

 Llorca and that Mr. Llorca performed work for which he should have been paid, Mr. Llorca may

 recover a reasonable estimation of the amount of his damages. But to recover this amount, Mr.

 Llorca must prove by a preponderance of the evidence a reasonable estimation of the amount and

 extent of the work for which he seeks pay.



                                              4.14 - 2
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 31 of 43 PageID 827




        Minimum wage claim: The minimum wage rates required by the FMWA during the

 period involved in this case were as follows:

        2010:                         $7.25
        2011 (Jan. 1-May 31):         $7.25
        2011 (June 1-Dec. 31):        $7.31
        2012:                         $7.67
        2013:                         $7.79
        2014:                         $7.93

        If you find by a preponderance of the evidence that Mr. Llorca performed work for the

 Sheriff’s Office beyond what he reported on his time cards but was not paid at least the

 minimum wage for these additional hours, you must first determine the number of

 uncompensated hours and then multiply those by the prevailing minimum wage to calculate the

 amount of unpaid minimum wage damages. To recover this amount, Mr. Llorca must prove by a

 preponderance of the evidence a reasonable estimation of the amount and extent of the work for

 which he seeks pay.

 ANNOTATIONS AND COMMENTS

         The Fair Labor Standards Act (“FLSA”) is found at 29 U.S.C. § 201 et seq. Pattern
 Instruction 4.14 is intended to be used in cases where the plaintiff alleges that the defendant
 employer failed to pay the minimum wage or overtime pay required by the FLSA. Pattern
 Instruction 4.14 contains bracketed instructions for each type of FLSA claim.

 I. Elements and Defenses

        A. “Employee”

        Pattern Instruction 4.14 instructs that the plaintiff must have been an employee of the
 defendant. For cases in which this issue is disputed, the instruction and verdict form should be
 adapted accordingly. For pattern instructions concerning issues of joint employers or
 independent contractors, please see Pattern Instructions 4.24 and 4.25, infra.

         The employee must also be “engaged in commerce” within the meaning of the FLSA or
 “employed by an enterprise engaged in commerce.” For a discussion of the “engaged in
 commerce” requirement, please see Martinez v. Palace, 414 F. App’x 243 (11th Cir. 2011) (per
 curiam) (finding that a cook at a local restaurant in Alabama was not “engaged in commerce”
 within the meaning of the FLSA).


                                              4.14 - 3
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 32 of 43 PageID 828




        B. Amount of Work Performed: Inaccurate or Inadequate Employer Records

        When an employer’s records are “inaccurate or inadequate and the employee cannot offer
 convincing substitutes,” then an employee has carried his burden of proving that he has
 performed work for which he was not properly compensated. Anderson v. Mt. Clemens Pottery
 Co., 328 U.S. 680, 687 (1946), superseded by statute on other grounds as stated in Carter v.
 Panama Canal Co., 463 F.2d 1289, 1293-94 (D.C. Cir. 1972). “The burden then shifts to the
 employer to come forward with evidence of the precise amount of work performed or with
 evidence to negative the reasonableness of the inference to be drawn from the employee’s
 evidence.” Id. at 687-88.

        C. Regular Rate of Pay

         When an employee is compensated solely on a weekly salary basis, the regular hourly
 rate of pay, on which time and a half must be paid, is computed by dividing the salary by the
 number of hours the salary is intended to compensate. Rodriguez v. Farm Stores Grocery, Inc.,
 518 F.3d 1259, 1268 (11th Cir. 2008). For overtime claims involving an employee who is paid a
 constant weekly salary for fluctuating hours, it may be necessary to modify the instruction so that
 the jury is instructed on the “fluctuating workweek method” for calculating damages. See
 generally Lamonica v. Safe Hurricane Shutters, Inc., No. 11-15743, 2013 WL 811906 (Mar. 6,
 2013); see also 29 C.F.R. § 778.114 (explaining how to use the fluctuating workweek method).

        D. Exemptions

        Pattern Instruction 4.14 leaves it to the court to fashion an instruction regarding the
 elements of a claimed exemption. The most common exemptions from the overtime pay
 requirement exist for employees in a “bona fide executive, administrative, or professional
 capacity” as defined by regulations of the Secretary. 29 U.S.C. § 213(a)(1). The elements of the
 exemptions may be found at 29 C.F.R. § 541.1 et seq.

       In a suit under the FLSA, the employer carries the burden of proving an overtime pay
 exemption. Hogan v. Allstate Ins. Co., 361 F.3d 621, 625 (11th Cir. 2004) (per curiam).

 II. Remedies

        A. Public Employees

        Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201 et seq., a public employee
 working overtime has the choice to be reimbursed either in the form of wages or compensatory
 time. 29 U.S.C. § 207(a)(o). A public employer may only substitute compensatory compensation
 for overtime pay pursuant to a collective bargaining agreement or agreement between the
 employer and employee if there is no applicable collective bargaining agreement. 29 U.S.C. §
 207(o)(2)(A); Chesser v. Sparks 248 F.3d 1117, 1120 n.1 (11th Cir. 2001).

        B. Liquidated Damages, Good Faith and Willful Violations

         The FLSA provides for liquidated damages and states that such damages shall be paid
 unless the “employer shows to the satisfaction of the court that the act or omission giving rise to

                                             4.14 - 4
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 33 of 43 PageID 829




 such action was in good faith and that he had reasonable grounds for believing that his act or
 omission was not a violation of the Fair Labor Standards Act,” in which case “the court may, in
 its sound discretion, award no liquidated damages or award any amount thereof not to exceed the
 amount specified in section 216” of the FLSA. 29 U.S.C. § 260. Under the plain language of the
 statute, this is a question for the court to determine not the jury. Thus, the court and the jury
 answer what is essentially the same question for two different purposes. The willfulness or good
 faith question is answered first by the jury to determine the period of limitations and then, if
 there is a verdict for the employee, again by the judge to determine whether to award liquidated
 damages. Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233, 1282 (11th Cir. 2008).

          When the jury finds an employer has violated the FLSA and assesses compensatory
 damages, the district court generally must add an award of liquidated damages in an equal
 amount. 29 U.S.C. § 216(b) (“Any employer who violates the provisions of… section 207 of this
 title shall be liable to the employee or employees affected in the amount of… their unpaid
 overtime compensation… and in an additional equal amount as liquidated damages.”); Alvarez
 Perez v. Sanford-Orlando Kennel Club, Inc., 515 F.3d 1150, 1163 (11th Cir. 2008). However, the
 district court has discretion to reduce or deny liquidated damages “if the employer shows to the
 satisfaction of the court that the act or omission giving rise to such action was in good faith and
 that he had reasonable grounds for believing that his act or omission was not a violation of the
 [FLSA].” Morgan, 551 F.3d at 1282 (alteration in original) (internal quotation marks omitted);
 see also 29 U.S.C. § 260. A district court must find that an employer acted in good faith in
 violating the FLSA before it may award less than the full amount of liquidated damages. Joiner
 v. City of Macon, 814 F.2d 1537, 1539 (11th Cir. 1987). If the jury finds that the employer acted
 willfully, however, then the court cannot find that the employer acted in good faith, and the court
 must award liquidated damages. A jury’s finding that the employer acted willfully precludes the
 court from finding that the employer acted in good faith when it decides the liquidated damages
 question. Alvarez Perez, 515 F.3d at 1166.

         The statute of limitations for a claim seeking unpaid overtime wages under the FLSA is
 generally two years. “But if the claim is one ‘arising out of a willful violation,’ the statute of
 limitations is extended to three years.” Morgan, 551 F.3d at 1280 (quoting 29 U.S.C. § 255(a)).

         To prove willfulness and therefore obtain the benefit of the three year statute of
 limitations, an employee must establish that the employer “knew, or showed reckless disregard
 for, the fact that its conduct was forbidden by the FLSA.” Morgan, 551 F.3d at 1283.

 GRANTED:              _____________

 DENIED:               _____________

 MODIFIED:             _____________

 WITHDRAWN:            _____________




                                             4.14 - 5
 Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 34 of 43 PageID 830




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION
   CARLO LLORCA, an individual,

                         Plaintiff,

   v.                                             Case No. 2:15-cv-00017-JES-CM

   KEVIN RAMBOSK, as the duly elected
   Sheriff of Collier County, Florida,

                         Defendant.

                      SPECIAL INTERROGATORIES TO THE JURY

A. Overtime Claim

          Do you find from a preponderance of the evidence:

          1. That the Sheriff’s Office failed to pay Mr. Llorca overtime pay required by the FLSA

   for any of his 14-day work periods?

                             Answer Yes or No             _____________

          If your answer is “No,” this ends your deliberations as to the Plaintiff’s overtime claim,

   and you should proceed to Part B to consider Mr. Llorca’s Minimum Wage claim. If your answer

   is “Yes,” go to and answer the next question, followed by answering either 3(a) or 3(b).

          Do you find from a preponderance of the evidence:

   2.     That the Sheriff’s Office knew or showed reckless disregard for whether the FLSA

   prohibited its conduct?

                             Answer Yes or No             _____________

          If your answer is “No,” go to and answer question 3(a). If your answer if “Yes,” skip

   question 3(a) and answer only question 3(b).


                                                   1
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 35 of 43 PageID 831




       Do you find from a preponderance of the evidence:

       3(a). That Mr. Llorca should be awarded damages?

                        Answer Yes or No           _____________

                      If your answer is “Yes,” for what work period(s) and in what amount(s)
                      should overtime damages be awarded?

                      Work Period (ending date)           Damages (if any)
                      January 28, 2013                    $_____________
                      February 11, 2013                   $_____________
                      February 25, 2013                   $_____________
                      March 11, 2013                      $_____________
                      March 25, 2013                      $_____________
                      April 8, 2013                       $_____________
                      April 22, 2013                      $_____________
                      May 6, 2013                         $_____________
                      May 20, 2013                        $_____________
                      June 3, 2013                        $_____________
                      June 17, 2013                       $_____________
                      July 1, 2013                        $_____________
                      July 15, 2013                       $_____________
                      July 29, 2015                       $_____________
                      August 12, 2013                     $_____________
                      August 26, 2013                     $_____________
                      September 9, 2013                   $_____________
                      September 23, 2013                  $_____________
                      October 7, 2013                     $_____________
                      October 21, 2013                    $_____________
                      November 4, 2013                    $_____________
                      November 18, 2013                   $_____________
                      December 2, 2013                    $_____________
                      December 16, 2013                   $_____________
                      December 30, 2013                   $_____________
                      January 13, 2014                    $_____________
                      January 27, 2014                    $_____________
                      February 10, 2014                   $_____________
                      February 24, 2014                   $_____________
                      March 10, 2014                      $_____________
                      March 24, 2014                      $_____________
                      April 7, 2014                       $_____________
                      April 21, 2014                      $_____________
                      May 5, 2014                         $_____________
                      May 19, 2014                        $_____________
                      June 2, 2014                        $_____________
                      June 16, 2014                       $_____________

                                             2
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 36 of 43 PageID 832




                      June 30, 2014                       $_____________
                      July 14, 2014                       $_____________
                      July 28, 2014                       $_____________
                      August 11, 2014                     $_____________
                      August 25, 2014                     $_____________
                      September 8, 2014                   $_____________
                      September 22, 2014                  $_____________

        If you awarded damages in response to question 3(a), skip question 3(b) and
 proceed to Part B to consider Mr. Llorca’s Minimum Wage claim.

       Do you find from a preponderance of the evidence:

       3(b). That Mr. Llorca should be awarded damages?

                        Answer Yes or No           _____________

                      If your answer is “Yes,” for what work period(s) and in what amount(s)
                      should overtime damages be awarded?

                      Work Period (ending date)           Damages (if any)
                      January 16, 2012                    $_____________
                      January 30, 2012                    $_____________
                      February 13, 2012                   $_____________
                      February 27, 2012                   $_____________
                      March 12, 2012                      $_____________
                      March 26, 2012                      $_____________
                      April 9, 2012                       $_____________
                      April 23, 2012                      $_____________
                      May 7, 2012                         $_____________
                      May 21, 2012                        $_____________
                      June 4, 2012                        $_____________
                      June 18, 2012                       $_____________
                      July 2, 2012                        $_____________
                      July 16, 2012                       $_____________
                      July 30, 2012                       $_____________
                      August 13, 2012                     $_____________
                      August 27, 2012                     $_____________
                      September 10, 2012                  $_____________
                      September 24, 2012                  $_____________
                      October 8, 2012                     $_____________
                      October 22, 2012                    $_____________
                      November 5, 2012                    $_____________
                      November 19, 2012                   $_____________
                      December 3, 2012                    $_____________
                      December 17, 2012                   $_____________
                      December 31, 2012                   $_____________

                                            3
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 37 of 43 PageID 833




                    January 14, 2013           $_____________
                    January 28, 2013           $_____________
                    February 11, 2013          $_____________
                    February 25, 2013          $_____________
                    March 11, 2013             $_____________
                    March 25, 2013             $_____________
                    April 8, 2013              $_____________
                    April 22, 2013             $_____________
                    May 6, 2013                $_____________
                    May 20, 2013               $_____________
                    June 3, 2013               $_____________
                    June 17, 2013              $_____________
                    July 1, 2013               $_____________
                    July 15, 2013              $_____________
                    July 29, 2015              $_____________
                    August 12, 2013            $_____________
                    August 26, 2013            $_____________
                    September 9, 2013          $_____________
                    September 23, 2013         $_____________
                    October 7, 2013            $_____________
                    October 21, 2013           $_____________
                    November 4, 2013           $_____________
                    November 18, 2013          $_____________
                    December 2, 2013           $_____________
                    December 16, 2013          $_____________
                    December 30, 2013          $_____________
                    January 13, 2014           $_____________
                    January 27, 2014           $_____________
                    February 10, 2014          $_____________
                    February 24, 2014          $_____________
                    March 10, 2014             $_____________
                    March 24, 2014             $_____________
                    April 7, 2014              $_____________
                    April 21, 2014             $_____________
                    May 5, 2014                $_____________
                    May 19, 2014               $_____________
                    June 2, 2014               $_____________
                    June 16, 2014              $_____________
                    June 30, 2014              $_____________
                    July 14, 2014              $_____________
                    July 28, 2014              $_____________
                    August 11, 2014            $_____________
                    August 25, 2014            $_____________
                    September 8, 2014          $_____________
                    September 22, 2014         $_____________



                                         4
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 38 of 43 PageID 834




        B. Minimum Wage Claim

        Do you find from a preponderance of the evidence:

        1. That the Sheriff’s Office failed to pay Mr. Llorca the Florida minimum wage

 rate for all of his hours worked during any of his 14-day work periods?

                           Answer Yes or No             _____________

        If your answer is “No,” this ends your deliberations, and your foreperson should

 sign and date the last page of this verdict form. If your answer is “Yes,” go to and answer

 the next question, followed by answering either 3(a) or 3(b).

        Do you find from a preponderance of the evidence:

    2. That the Sheriff’s Office knew or showed reckless disregard for whether the

    FMWA prohibited its conduct?

                           Answer Yes or No             _____________

        If your answer is “No,” go to and answer question 3(a). If your answer if “Yes,”
 skip question 3(a) and answer only question 3(b).

        Do you find from a preponderance of the evidence:

        3(a). That Mr. Llorca should be awarded damages?

                           Answer Yes or No             _____________

                         If your answer is “Yes,” for what work period(s) and in what amount(s)
                         should minimum wage damages be awarded?

                         Work Period (ending date)          Damages (if any)
                         January 17, 2011                   $_____________
                         January 31, 2011                   $_____________
                         February 14, 2011                  $_____________
                         February 28, 2011                  $_____________
                         March 14, 2011                     $_____________
                         March 28, 2011                     $_____________
                         April 11, 2011                     $_____________
                         April 25, 2011                     $_____________
                         May 9, 2011                        $_____________
                         May 23, 2011                       $_____________

                                                 5
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 39 of 43 PageID 835




                    June 6, 2011               $_____________
                    June 20, 2011              $_____________
                    July 4, 2011               $_____________
                    July 18, 2011              $_____________
                    August 1, 2011             $_____________
                    August 15, 2011            $_____________
                    August 29, 2011            $_____________
                    September 12, 2011         $_____________
                    September 26, 2011         $_____________
                    October 10, 2011           $_____________
                    October 24, 2011           $_____________
                    November 7, 2011           $_____________
                    November 21, 2011          $_____________
                    December 5, 2011           $_____________
                    December 19, 2011          $_____________
                    January 2, 2012            $_____________
                    January 16, 2012           $_____________
                    January 30, 2012           $_____________
                    February 13, 2012          $_____________
                    February 27, 2012          $_____________
                    March 12, 2012             $_____________
                    March 26, 2012             $_____________
                    April 9, 2012              $_____________
                    April 23, 2012             $_____________
                    May 7, 2012                $_____________
                    May 21, 2012               $_____________
                    June 4, 2012               $_____________
                    June 18, 2012              $_____________
                    July 2, 2012               $_____________
                    July 16, 2012              $_____________
                    July 30, 2012              $_____________
                    August 13, 2012            $_____________
                    August 27, 2012            $_____________
                    September 10, 2012         $_____________
                    September 24, 2012         $_____________
                    October 8, 2012            $_____________
                    October 22, 2012           $_____________
                    November 5, 2012           $_____________
                    November 19, 2012          $_____________
                    December 3, 2012           $_____________
                    December 17, 2012          $_____________
                    December 31, 2012          $_____________
                    January 14, 2013           $_____________
                    January 28, 2013           $_____________
                    February 11, 2013          $_____________
                    February 25, 2013          $_____________


                                         6
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 40 of 43 PageID 836




                        March 11, 2013                    $_____________
                        March 25, 2013                    $_____________
                        April 8, 2013                     $_____________
                        April 22, 2013                    $_____________
                        May 6, 2013                       $_____________
                        May 20, 2013                      $_____________
                        June 3, 2013                      $_____________
                        June 17, 2013                     $_____________
                        July 1, 2013                      $_____________
                        July 15, 2013                     $_____________
                        July 29, 2015                     $_____________
                        August 12, 2013                   $_____________
                        August 26, 2013                   $_____________
                        September 9, 2013                 $_____________
                        September 23, 2013                $_____________
                        October 7, 2013                   $_____________
                        October 21, 2013                  $_____________
                        November 4, 2013                  $_____________
                        November 18, 2013                 $_____________
                        December 2, 2013                  $_____________
                        December 16, 2013                 $_____________
                        December 30, 2013                 $_____________
                        January 13, 2014                  $_____________
                        January 27, 2014                  $_____________
                        February 10, 2014                 $_____________
                        February 24, 2014                 $_____________
                        March 10, 2014                    $_____________
                        March 24, 2014                    $_____________
                        April 7, 2014                     $_____________
                        April 21, 2014                    $_____________
                        May 5, 2014                       $_____________
                        May 19, 2014                      $_____________
                        June 2, 2014                      $_____________
                        June 16, 2014                     $_____________
                        June 30, 2014                     $_____________
                        July 14, 2014                     $_____________
                        July 28, 2014                     $_____________
                        August 11, 2014                   $_____________
                        August 25, 2014                   $_____________
                        September 8, 2014                 $_____________
                        September 22, 2014                $_____________

         If you awarded damages in response to question 3(a), skip question 3(b), as this
 ends your deliberations. Your foreperson should sign and date the final page of this
 verdict form, and you should notify the courtroom deputy that you have reached your
 verdict.


                                               7
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 41 of 43 PageID 837




       Do you find from a preponderance of the evidence:

       3(b). That Mr. Llorca should be awarded damages?

                        Answer Yes or No           _____________

                      If your answer is “Yes,” for what work period(s) and in what amount(s)
                      should minimum wage damages be awarded?

                      Work Period (ending date)           Damages (if any)
                      January 18, 2010                    $_____________
                      February 1, 2010                    $_____________
                      February 15, 2010                   $_____________
                      March 1, 2010                       $_____________
                      March 15, 2010                      $_____________
                      March 29, 2010                      $_____________
                      April 12, 2010                      $_____________
                      April 26, 2010                      $_____________
                      May 10, 2010                        $_____________
                      May 24, 2010                        $_____________
                      June 7, 2010                        $_____________
                      June 21, 2010                       $_____________
                      July 5, 2010                        $_____________
                      July 19, 2010                       $_____________
                      August 2, 2010                      $_____________
                      August 16, 2010                     $_____________
                      August 30, 2010                     $_____________
                      September 13, 2010                  $_____________
                      September 27, 2010                  $_____________
                      October 11, 2010                    $_____________
                      October 25, 2010                    $_____________
                      November 8, 2010                    $_____________
                      November 22, 2010                   $_____________
                      December 6, 2010                    $_____________
                      December 20, 2010                   $_____________
                      January 3, 2011                     $_____________
                      January 17, 2011                    $_____________
                      January 31, 2011                    $_____________
                      February 14, 2011                   $_____________
                      February 28, 2011                   $_____________
                      March 14, 2011                      $_____________
                      March 28, 2011                      $_____________
                      April 11, 2011                      $_____________
                      April 25, 2011                      $_____________
                      May 9, 2011                         $_____________
                      May 23, 2011                        $_____________
                      June 6, 2011                        $_____________

                                            8
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 42 of 43 PageID 838




                    June 20, 2011              $_____________
                    July 4, 2011               $_____________
                    July 18, 2011              $_____________
                    August 1, 2011             $_____________
                    August 15, 2011            $_____________
                    August 29, 2011            $_____________
                    September 12, 2011         $_____________
                    September 26, 2011         $_____________
                    October 10, 2011           $_____________
                    October 24, 2011           $_____________
                    November 7, 2011           $_____________
                    November 21, 2011          $_____________
                    December 5, 2011           $_____________
                    December 19, 2011          $_____________
                    January 2, 2012            $_____________
                    January 16, 2012           $_____________
                    January 30, 2012           $_____________
                    February 13, 2012          $_____________
                    February 27, 2012          $_____________
                    March 12, 2012             $_____________
                    March 26, 2012             $_____________
                    April 9, 2012              $_____________
                    April 23, 2012             $_____________
                    May 7, 2012                $_____________
                    May 21, 2012               $_____________
                    June 4, 2012               $_____________
                    June 18, 2012              $_____________
                    July 2, 2012               $_____________
                    July 16, 2012              $_____________
                    July 30, 2012              $_____________
                    August 13, 2012            $_____________
                    August 27, 2012            $_____________
                    September 10, 2012         $_____________
                    September 24, 2012         $_____________
                    October 8, 2012            $_____________
                    October 22, 2012           $_____________
                    November 5, 2012           $_____________
                    November 19, 2012          $_____________
                    December 3, 2012           $_____________
                    December 17, 2012          $_____________
                    December 31, 2012          $_____________
                    January 14, 2013           $_____________
                    January 28, 2013           $_____________
                    February 11, 2013          $_____________
                    February 25, 2013          $_____________
                    March 11, 2013             $_____________


                                         9
Case 2:15-cv-00017-PAM-CM Document 51-5 Filed 07/22/16 Page 43 of 43 PageID 839




                    March 25, 2013                $_____________
                    April 8, 2013                 $_____________
                    April 22, 2013                $_____________
                    May 6, 2013                   $_____________
                    May 20, 2013                  $_____________
                    June 3, 2013                  $_____________
                    June 17, 2013                 $_____________
                    July 1, 2013                  $_____________
                    July 15, 2013                 $_____________
                    July 29, 2015                 $_____________
                    August 12, 2013               $_____________
                    August 26, 2013               $_____________
                    September 9, 2013             $_____________
                    September 23, 2013            $_____________
                    October 7, 2013               $_____________
                    October 21, 2013              $_____________
                    November 4, 2013              $_____________
                    November 18, 2013             $_____________
                    December 2, 2013              $_____________
                    December 16, 2013             $_____________
                    December 30, 2013             $_____________
                    January 13, 2014              $_____________
                    January 27, 2014              $_____________
                    February 10, 2014             $_____________
                    February 24, 2014             $_____________
                    March 10, 2014                $_____________
                    March 24, 2014                $_____________
                    April 7, 2014                 $_____________
                    April 21, 2014                $_____________
                    May 5, 2014                   $_____________
                    May 19, 2014                  $_____________
                    June 2, 2014                  $_____________
                    June 16, 2014                 $_____________
                    June 30, 2014                 $_____________
                    July 14, 2014                 $_____________
                    July 28, 2014                 $_____________
                    August 11, 2014               $_____________
                    August 25, 2014               $_____________
                    September 8, 2014             $_____________
                    September 22, 2014            $_____________

       SO SAY WE ALL.

                                          ___________________________
                                          Foreperson’s Signature
 DATE: ___________________


                                         10
